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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL




 Case No.       CV 04-10077 DSF Rzx)                                             Date      12/10/07
 Title     The Sugar Association, Inc., et al., v. McNeil-PPC, Inc., et al.,

 Present: The Honorable           DALE S. FISCHER, United States District Judge
                   Paul Pierson                                           Pamela Seijas
                  Deputy Clerk                                            Court Reporter
         Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                  James Murphy                                              Clay Pierce
                    Adam Fox                                                Travis Tu
 Proceedings:              Hearing on:
                           1) Defendants’ Motion to Exclude the Expert Testimony of James Turner
                           (filed 9/28/07);
                           2) Counterclaim Defendants’ Motion in limine to Exclude Testimony of
                           Robert Klein and all related testimony and opinions (filed 9/28/07); and
                           3) Defendants’ Motion to Exclude in Part the Expert Testimony of Christian
                           Tregillis (filed 10/4/07)


       The case is called and counsel state their appearances. The Court addresses the above-
referenced motions, invites oral argument, and advises counsel that a written orders will issue. The
Court grants defense counsel’s oral request to extend the submission deadlines of certain pretrial
documents as stated on the record.




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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES - GENERAL




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CV-90 (01/07)                   CIVIL MINUTES - GENERAL     INITIALS OF DEPUTY CLERK:

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